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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
IN RE PHARMACEUTICAL INDUSTRY )                  MDL NO. 1456
AVERAGE WHOLESALE PRICE             )
LITIGATION                          )            Civil Action No. 01-12257-PBS
____________________________________)
                                    )            Judge Patti B. Saris
THIS DOCUMENT RELATES TO            )
01-CV-12257-PBS                     )            Chief Mag. Judge Marianne B. Bowler
____________________________________)

                             STATUS REPORT February 1, 2010
       Pursuant to the Court’s June 17, 2004 Procedural Order, the undersigned counsel for

Plaintiffs and Defendants hereby submit the attached status report to the Court listing the status

of all pending motions to date.

       Respectfully Submitted,


       PLAINTIFFS’ LEAD COUNSEL
       ON BEHALF OF ALL PLAINTIFFS



       By:    /s/ Thomas M. Sobol                                    DATED: February 1, 2010

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ON BEHALF OF DEFENDANTS

By:   /s/ Katherine B. Schmeckpeper                      DATED: February 1, 2010

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                                 CERTIFICATE OF SERVICE


        I hereby certify that on February 1, 2010, I caused a true and correct copy of the

foregoing Status Report to be served on all counsel of record by electronic service pursuant to

Case Management Order No. 2 by sending a copy to Lexis/Nexis File & Serve for posting and

notification to all parties.


                                               /s/ Katherine B. Schmeckpeper
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